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                                      CLERK’S MINUTE SHEET
                           IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW MEXICO (AT ALBUQUERQUE)

                                   Before the Honorable Laura Fashing
                                             Initial Appearance
Case Number:        MJ 18-349 LF                      UNITED STATES vs. ANTONE

Hearing Date:       2/2/2018                          Time In and Out:          9:45/9:55

Clerk:              N. Maestas                        Courtroom:                Rio Grande

Defendant:          Casey Michael Antone              Defendant’s Counsel:      Pro Se

AUSA                Novaline Wilson                   Pretrial/Probation:       Anthony Carter

Interpreter:        N/A
Initial Appearance
☐      Defendant sworn

☒      Defendant received a copy of charging document

☒      Court advises defendant(s) of possible penalties and all constitutional rights

☒      Defendant wants Court appointed counsel

☒      Government moves to detain                      ☐      Government does not recommend detention

☒      Set for Identity/Detention Hearing             on February 5, 2018            @ 9:30
Preliminary/Show Cause/Identity
☐      Defendant

☐      Court finds probable cause                      ☐      Court does not find probable cause
Custody Status
☐      Defendant waives Detention Hearing

☒      Defendant detained pending hearing

☐      Conditions
Other
☐      Matter referred to      for final revocation hearing

☐
